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                           IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 DARYOUSH TAHA,                              :
                                             :
                     Plaintiff,              :
 On Behalf Of Himself                        :
 And All those Similarly                     :
 Situated                                    :       CIVIL ACTION NO. 12-6867
              v.                             :
                                             :       CLASS ACTION
 BUCKS COUNTY, et al.,                       :
                                             :
                         Defendants.         :

                                   SETTLEMENT AGREEMENT

                Plaintiff Daryoush Taha and the Certified Class (“Plaintiff”), by their

undersigned Class Counsel, and Defendants Bucks County and Bucks County Correctional

Facility (collectively “Bucks”), by their undersigned counsel, hereby stipulate and agree,

subject to the approval of the Court, as follows:

                WHEREAS, the above-captioned class action lawsuit (the “Action”) was filed

in 2012, and has been extensively litigated, including: the granting of Plaintiff’s partial

motion for summary judgment on liability; the granting of Bucks’ motion for partial summary

judgment on Taha’s claim for “actual and real damages;” the granting of Plaintiff’s motion for

class certification; an interlocutory appeal of the grant of that motion to the United States

Court of Appeals for the Third Circuit, Taha v. Cty. of Bucks, 862 F.3d 292 (3d Cir. 2017); a

jury trial to verdict in May 2019 and subsequent entry of a Final Judgment and an Amended

Final Judgment [ECF Nos. 350, 374]; and the adjudication of extensive post-trial motions; and

                WHEREAS Bucks has filed an appeal to the Third Circuit from the Amended

Final Judgment entered in favor of Plaintiff and the Certified Class [Dkt. No. 375], which

appeal is presently pending; and



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                WHEREAS the parties have subsequently engaged in extensive arms-length

settlement negotiations before the Third Circuit Mediator, Joseph Torregrossa; and

                WHEREAS, Plaintiff and Class Counsel believe the proposed settlement set

forth herein is fair, reasonable, and adequate, and in the best interests of the Class; and

                WHEREAS, Bucks, despite its denial of liability for the claims asserted by

Plaintiff and the Certified Class, and its belief that it has good defenses thereto, has

nevertheless agreed to enter into this Agreement to avoid further expense, inconvenience, and

the distraction of burdensome and protracted litigation, and to obtain the release, order, and

judgment contemplated by this Agreement, and to put to rest with finality all claims that have

been or could have been asserted against Bucks with respect to the Inmate Lookup Tool that is

the subject of this Action;

                NOW, THEREFORE, in consideration of the covenants, agreements, and

release set forth herein and for other good and valuable consideration, it is agreed by and

among the undersigned that the Action be settled, compromised, and dismissed on the merits

with prejudice on the following terms and conditions:

A.      Definitions

                1.     “Claim Deadline” means the last date on which claims may be submitted.

The Claim Deadline will be ninety (90) days after the date of publication of the Class Notice.

                2.     “Class Notice” means the Notice to be printed and mailed to all class

members for whom the Claims Administrator has an address. The content of that Notice is

Exhibit A hereto. “Publication Notice” means the short-form notice to be published in the

manner set forth in this Agreement. The content of that Notice is Exhibit B hereto. “Claim

Form” is the form and instructions for submitting claims attached as Exhibit C hereto.



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                3.     “Class Members” means those persons who are members of the Class

certified by the Court and defined as: “All persons whose criminal history record information

was made available on the Bucks County Correctional Facility Inmate Lookup Tool before June

18, 2013.” [ECF 374].

                4.     “Class Counsel” means the law firms of Kohn, Swift & Graf, P.C.; and

Abramson & Denenberg, P.C.

                5.     “Court” means the United States District Court for the Eastern District of

Pennsylvania.

                6.     “Effective Date” means the tenth (10th) day after the date on which all of

the following conditions are satisfied:

                       a.      Execution of this Agreement;

                       b.      Entry of the Final Approval Order by the Court approving the

Settlement embodied in this Agreement; and

                       c.      The passage of the earliest date on which: (i) the time for taking an

appeal from the Final Approval Order and judgment has expired, without any appeal having been

taken; or (ii) if an appeal is taken, the date on which all appeals, including petitions for rehearing

and petitions for certiorari, have been finally disposed of in a manner resulting in affirmance of

all the material provisions of the Final Approval Order (however, a reversal of the award of

attorneys’ fees to Class Counsel does not affect the finality or effectiveness of the other

provisions of this Settlement Agreement).

                7.     “Eligible Class Member” means a Class Member who has submitted a

timely and valid claim in accordance with the requirements set forth herein.




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                8.     “Fairness Hearing” or “Final Approval Hearing” means a hearing to be

held by the Court, after notice to the Class, to consider approval of the Settlement and Class

Counsel’s motion for approval of attorneys’ fees and reimbursement of costs and expenses, and a

Service Award to Plaintiff. The Parties will move the Court to schedule a Fairness Hearing at

least ninety (90) days from the entry of the Preliminary Approval Order.

                9.     “Preliminary Approval Order” means the Order preliminarily approving

the Settlement, and approving the Class Notice, Publication Notice, and claim procedure set forth

herein. A draft of the proposed Preliminary Approval Order is attached as Exhibit D hereto.

                10.    “Final Approval Order” means the Order granting final approval to the

Settlement, which should not be entered sooner than ninety (90) days after the appropriate

officials have been served with notice of the Settlement in accordance with the Class Action

Fairness Act of 2005, as codified at 28 U.S.C. § 1715(b). Bucks agrees to provide the Court and

Class Counsel promptly with the date(s) of service of said notices. A draft of the proposed Final

Approval Order is attached as Exhibit E.

                11.    “Service Award” means the monetary amount awarded by the Court in

recognition of the assistance provided by Plaintiff Daryoush Taha in the maintenance of this

action.

B.        Approval of this Agreement and Dismissal of Claims Against Bucks

                12.    Plaintiff and Bucks shall use their best efforts to effectuate this

Agreement, including cooperating in seeking the Court’s approval for the establishment of

procedures and deadlines to secure the complete and final dismissal with prejudice of the Action.

                13.    Plaintiff shall submit to the Court motions: seeking preliminary approval

of this Agreement; for authorization to disseminate the Notices and Claim Form in the Form set



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forth in Exhibits A-C hereto; if preliminary approval is granted, for Final Approval of this

Settlement; and for Court Approval of Class Counsel’s fees and cost reimbursements and a

Service Award to Plaintiff. Plaintiff shall file the motion for Preliminary Approval within twenty

(20) days of the execution of this Agreement.

                14.      Bucks shall have the right to review and comment on the Plaintiff’s

motions for preliminary and final approval, and Class Counsel shall provide Bucks with copies

of the draft motions at least five (5) business days prior to the filing of such motions. Class

Counsel shall consider any such comments in good faith, and shall not unreasonably reject such

comments.

                15.      In moving for Final Approval, Plaintiff shall seek the entry of an order and

final judgment dismissing this action with prejudice, in the form attached as Exhibit E hereto.

                      a. At the Final Approval Hearing, Plaintiff will request entry of an order

                         granting final approval of this Agreement, in the form of the attached

                         [Proposed] Final Approval Order and Final Judgment;

                      b. finally approving the Settlement as fair, reasonable, and adequate, within

                         the meaning of Rule 23(e) of the Federal Rules of Civil Procedure, and

                         directing its consummation pursuant to its terms;

                      c. directing that the Action be dismissed with prejudice, and releasing the

                         Released Claims;

                      d. reserving jurisdiction with respect to implementation and enforcement of

                         the terms of the Agreement; and

                      e. containing such other and further provisions consistent with the terms of

                         the Settlement to which the Parties expressly consent in writing.



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C.      Release and Covenant Not to Sue

                16.    For and in consideration of the settlement payments described in this

Settlement Agreement and the mutual promises contained herein, Plaintiff and Class Members,

on behalf of themselves and their respective agents, heirs, executors, administrators, successors,

assigns, guardians, and representatives (“Releasors”), fully and finally release and discharge, as

of the Effective Date, Bucks and its present and former officers, employees, and agents

(“Released Parties”) from all claims, demands, judgments, actions, suits and/or causes of action,

whether federal or state, known or unknown, asserted or unasserted, regardless of legal theory,

arising in any way from or in any way related to the facts, activities, or circumstances alleged in

the Action or which are based on or in any way related to the dissemination of information

relating to Releasors on Bucks’ Inmate Lookup Tool (the “Release” or “Released Claims”).

Releasors further hereby covenant and agree that they shall not, hereafter, assert a claim or

otherwise seek to establish liability against the Released Parties based in whole or in part on any

Released Claims. Releasors are aware that they may hereafter discover claims that existed

during the Class Period that are now unknown or unsuspected, or facts in addition to or different

from those which they now know or believe to be true with respect to the allegations and subject

matter of the Action. Nevertheless, Releasors intend to fully, finally, and forever settle and

release all such matters and claims against the Released Parties, which exist or might have

existed (whether or not previously or currently asserted in the Action).

D.      Settlement Amounts

                17.    The maximum amount to be paid by Bucks for payments to Eligible Class

Members, the costs of notice and claims administration, programmatic relief as set forth below in

paragraph 21, and a Service Award to Plaintiff is $10 million. The minimum amount to be paid



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by Bucks for payments to Eligible Class Members, the costs of notice and claims administration,

programmatic relief as set forth below in paragraph 21, and a Service Award to Plaintiff is $3.5

million.

                18.    A settlement fund will not be created; instead, settlement payments will be

distributed by Bucks to Eligible Class Members. Distributions will be made within 30 (thirty)

days after the Effective Date.

                19.    Eligible Class Members will each receive $600. However, if the payment

of $600 to Eligible Class Members plus the payment of notice and claims administration

expenses, the cost of programmatic relief, and a Service Award to Plaintiff would exceed $10

million, the amount paid to each Eligible Class Member will be reduced on a pro-rata basis in

order to limit the total expenditure by Bucks to $10 million.

                20.    If the total payments to Eligible Class Members, plus the payment of

notice and claims administration expenses and a Service Award to Plaintiff, is less than the $3.5

million floor, the amount to be paid to each Eligible Class Member will be adjusted upward on a

pro-rata basis to reach the $3.5 million floor. However, in no event shall Eligible Class Members

receive more than $1,000 apiece.

                21.    If, notwithstanding the pro-rata adjustment set forth above in paragraph

20, the $3.5 million floor is still not reached, Bucks will spend the difference, in order to reach

the $3.5 million floor, on funding programs (including, but not limited to, creating new positions,

hiring new staff, or funding new initiatives) devoted to obtaining expungements and/or addiction

treatment services for clients of the Bucks County Public Defender (“programmatic relief”).

Such programmatic relief shall be in addition to expenditures that were previously authorized in

Bucks County’s 2020 budget.



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                22.     If the total payments to Eligible Class Members plus the payment of notice

and claims administration expenses and a Service Award to Plaintiff is more than $3.5 million

but less than $10 million, Bucks will spend 5% of the difference between that total and $10

million for the programmatic relief described above in paragraph 21.

                23.     Class Counsel will file a petition for attorneys’ fees and expenses seeking

an amount not to exceed $4,000,000 and a request seeking a Service Award for Plaintiff in an

amount not to exceed $30,000, and agree not to accept payments greater than those amounts.

The foregoing sum for attorneys’ fees and expenses encompasses the fees and expenses of all

lawyers and law firms that have worked on behalf of Plaintiff and the class in this matter. Bucks

agrees not to object to these amounts, which are subject to Court approval. The $4,000,000 for

attorney’s fees is in addition to the amounts set forth above for payment of claims, payment of

notice and claims administration expenses, funding of programmatic relief, and the Service

Award to Plaintiff. In the event the Court approves lesser amounts for attorneys’ fees and

expenses and/or a Service Award than those set forth in this paragraph, the Settlement

Agreement will remain binding on the parties. However, Class Counsel and Plaintiff reserve the

right to appeal from any reduction of their requested attorneys’ fees or Service Award, without

affecting the finality of this Agreement. Bucks agrees to pay the Court-approved amounts within

ten business days of the Effective Date. Kohn Swift & Graf agrees to indemnify Bucks against

any claims asserted against it by any other lawyers and law firms who worked on behalf of

Plaintiff and/or the class in this matter.

E.      Additional Provisions

                24.     Bucks and Class Counsel shall work cooperatively to select the Claims

Administrator, which selection will be based on a competitive bidding process. All bids will be



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shared with Class Counsel. However, Bucks will retain the discretion to make the final choice of

the administrator.

                25.    The Claims Administrator will be responsible for all aspects of claims

administration, including without limitation: (a) creating and maintaining a database of names

and addresses of class members; (b) comparing that database with a national change of address

database; (c) printing and mailing notices, each with an assigned unique personal identification

number (“PIN”); (d) compiling new address information and re-sending any notices returned as

undeliverable and, if appropriate, skip tracing those that are returned as undeliverable and do not

contain a forwarding address; (e) maintaining the previously-established website for the purposes

of notice and claim administration, including the creation of forms and IVR procedures that will

provide for electronic submission of claim forms, and the maintenance of a toll-free telephone

number dedicated to the Settlement; (f) providing a blank Claim Form by mail or email to any

Class Members who request one; and (g) compiling a list of Class Members who submit properly

completed Claim Forms, either by mail or via the website, and verifying the accuracy and

completeness of the Claim Forms. Settlement checks will be mailed to Eligible Class Members

or electronically deposited into Eligible Class Members’ bank accounts by Bucks.

                26.    Notice of the settlement will be provided in the same manner as the

dissemination of notice of the class certification decision in this case – namely, mailed Notice to

class members’ last known addresses; Publication Notice in the Bucks County Courier Times

and Doylestown Intelligencer; and the continued maintenance of the previously established

website, www.CHRIALitigation.com. The Publication Notice will be the same size and

frequency as the prior Publication Notice of the class certification decision in this case. Notice

will also be sent electronically to Class Members whose email addresses are known. If, thirty



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(30) days before the claims deadline, the $3.5 million floor for class member payments and

notice and claims administration expenses is not projected to be reached even if Eligible Class

Members are paid $1,000 each, a reminder postcard notice in the form attached as Exhibit F shall

be mailed to class members except for those who have already submitted claims or those whose

prior notice was returned as undeliverable.

                27.    If Class Counsel determines to engage in additional efforts to notify and

identify Class Members, such as through social media, any expenses will be borne by Class

Counsel. The Court must approve any such additional notice efforts. Bucks reserves the right to

oppose the content of Class Counsel’s proposed social media postings.

                28.    Claims may be submitted by mail or by using a claim form on the

settlement website, in the form attached as Exhibit C. All claims submitted by class members

who receive the mailed Notice will require the provision of the Class Member’s name, current

address, PIN, and last four digits of the Class Member’s Social Security number. Class members

who have not been assigned a PIN may submit a claim, which must include their name, current

address, and last four digits of their Social Security number. If a claim is submitted by someone

without an assigned PIN and whose Social Security number is not found in Bucks’ records,

Bucks will require verification of the claimant’s identity through photographic or documentary

corroboration, or the provision by the claimant of his/her full Social Security number. Class

members will be given the right, prior to the claim form deadline, to correct any submitted

information should the Claims Administrator determine that such a correction is necessary. Any

disputes regarding the validity of a claim shall be resolved by the Magistrate.

                29.    Any Class Member who wishes to object to the fairness, reasonableness,

or adequacy of the Settlement, or the application of Class Counsel for an award of attorneys’



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fees, costs, and expenses and/or for a Service Award for Plaintiff, must timely do so in the

manner specified in the Preliminary Approval Order and in any subsequent notice or order

concerning the application for attorneys’ fees, costs and expenses and/or for a Service Award to

Plaintiff.

                30.    The Court will retain jurisdiction over the implementation, interpretation,

enforcement, and performance of this Agreement, and shall have exclusive jurisdiction over any

suit, action, proceeding, or dispute arising out of or relating to this Agreement.

                31.    This Agreement shall terminate automatically if the Court fails to approve

any term of the Agreement other than reducing the amounts set forth above for attorneys’ fees

and expenses and the Service Award to Plaintiff, or if the Agreement is set aside on appeal, or if,

prior to approval of this Agreement by the Court, the Parties mutually agree to termination by

and through their respective counsel. If this Agreement is terminated, each Party shall return to

his or its respective status as of date of Preliminary Approval, and they shall proceed in all

respects as if this Agreement had not been executed and any related orders had not been entered,

preserving all of their respective claims and defenses and appellate rights.

                32.    Neither this Agreement nor any document prepared in connection with

the Settlement may be admitted in any proceeding as an admission by Bucks or Plaintiff, except

any and all provisions of the Agreement may be admitted in evidence and otherwise used in a

proceeding to enforce any or all terms of the Agreement, or in defense of any claims released or

barred by this Agreement. The parties specifically agree that Bucks’ execution of this

Agreement is not, and will not be construed as, an admission by it or deemed to be evidence: (1)

of the validity of any of the claims made by Plaintiff or of any liability to Plaintiff or Class

Members; or (2) that Bucks violated CHRIA or any other Pennsylvania law in any respect.



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                33.    The parties and their counsel agree that, in responding to any inquiries

from the public media concerning the Action or the Settlement, they will limit their comments to

the provision of factual information as is contained in the Notices, this Agreement, the pleadings,

and any of the court orders in the Action, and may further state only to the effect that “the matter

has been settled to the satisfaction of all Parties subject to Court approval.” Nothing in this

paragraph will limit Class Counsel’s ability to communicate privately with a Class Member

concerning the Action or Settlement. Bucks may make such public or regulatory disclosures

about the Action and Settlement as any applicable laws require.

                34.    After this Agreement is fully executed by the parties and their attorneys of

record, this Agreement and its attached Exhibits will constitute the entire agreement relating to

settlement of the Action, and it will then be deemed that no oral representations, warranties, or

inducements have been made to any party concerning this Agreement or its Exhibits other than

the representations, warranties, and covenants expressly stated in this Agreement and its

Exhibits.

                35.    Class Counsel unconditionally warrant and represent that they are

authorized by Plaintiff, for whom they are attorneys of record, and the attorneys of record for

Bucks warrant and represent that they are authorized by Bucks, to enter into this Agreement on

behalf of their respective clients and to take all appropriate action required or permitted to be

taken by such parties pursuant to this Agreement to effectuate its terms and to execute any other

documents required to effectuate the terms of this Agreement. The parties and their counsel

must cooperate with each other and use their best efforts to effectuate the implementation of the

Settlement.




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                36.    No opinion concerning the tax consequences of the Settlement to

individual Class Members is being given or will be given by the parties or their counsel, nor is

any representation or warranty in this regard made by virtue of this Agreement. Plaintiff and

Class Members must consult their own tax advisors regarding the tax consequences of the

Settlement, including any payments provided hereunder and any tax reporting obligations they

may have with respect to those payments. Each Class Member’s tax obligations, and the

determination thereof, are the sole responsibility of the Class Member, and it is understood that

the tax consequences may vary depending on the particular circumstances of each individual

Class Member.

                37.    This Agreement, and any and all parts of it, can be amended, modified,

changed or waived only by an express written instrument signed by counsel for all parties.

                38.    Plaintiff hereby warrants and represents that he has not previously

assigned or sold his claim against Bucks to anyone or any entity.

                39.    All terms of this Agreement and its exhibits will be governed by and

interpreted according to the laws of the Commonwealth of Pennsylvania, without giving effect to

any conflict of law principles or choice of law principles.

                40.    The parties have cooperated in the drafting and preparation of this

Agreement. This Agreement will not be construed against any party on the basis that the party

was the drafter or participated in the drafting.

                41.    This Agreement may be executed in one or more counterparts and may be

executed with an electronic signature. All executed counterparts and each of them will be

deemed to be one and the same instrument provided that counsel for the parties to this




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Agreement will exchange among themselves original signed counterparts. Any executed

counterpart will be admissible in evidence to prove the existence and contents of this Agreement.

                IN WITNESS WHEREOF, the Parties hereto have executed this Agreement, as

of the date and year first above written.


Dated: May 18, 2020



 /s/ Burt M. Rublin                                  /s/ Joseph C. Kohn
 Burt M. Rublin                                      Joseph C. Kohn
 BALLARD SPAHR LLP                                   Robert J. LaRocca
 1735 Market Street, 51st Floor                      Jonathan Shub
 Philadelphia, PA 19103-7599                         KOHN, SWIFT & GRAF, P.C.
 (215) 864-8116 phone                                1600 Market Street, Suite 2500
 (215) 864-9783 fax                                  Philadelphia, PA 19103
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 /s/ Mark A. Aronchick
 Mark A. Aronchick
 HANGLEY ARONCHICK SEGAL                             /s/ Alan Denenberg
 PUDLIN & SCHILLER                                   Alan Denenberg
 One Logan Square, 27th Floor                        ABRAMSON & DENENBERG, P.C.
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 (215) 568-0300 fax                                  (215) 398-7066 phone
                                                     (213) 546-5355 fax
 Attorney for Defendants The County of Bucks
 and The Bucks County Correctional Facility          Attorneys for Plaintiff and the Class




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CLAIMANT PIN NUMBER
[ONLY FOR PRE-IDENTIFIED CLASS MEMBER NOTICE VERSION]


   UNITED STATES DISTRICT COURT, FOR THE EASTERN DISTRICT OF PENNSYLVANIA


            IF YOUR CRIMINAL HISTORY RECORD
            INFORMATION WAS MADE AVAILABLE ON THE
            BUCKS COUNTY CORRECTIONAL FACILITY
            INMATE LOOKUP TOOL BEFORE JUNE 18, 2013, YOU
            ARE ENTITLED TO BENEFITS
            IF YOU WERE BOOKED, OR OTHERWISE DETAINED
            FOR ANY REASON, AT THE BUCKS COUNTY
            CORRECTIONAL FACILITY (BCCF) BETWEEN 1938
            AND JUNE 18, 2013, YOU ARE A MEMBER OF THE
            CLASS AND ENTITLED TO BENEFITS
_____________________________________________________________________________
                    A FEDERAL COURT AUTHORIZED THIS NOTICE

     *A Settlement has been reached in a class action lawsuit against Bucks County and Bucks County
     Correctional Facility alleging a violation of the Pennsylvania Criminal History Record Information Act.
     *If you are included in the Settlement, you may qualify for compensation.


     IF YOU ARE A MEMBER OF THIS CLASS OF PERSONS, YOU SHOULD READ THIS
     NOTICE CAREFULLY BECAUSE IT WILL AFFECT YOUR LEGAL RIGHTS AND
     OBLIGATIONS.


                 YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT



   SUBMIT A       This is the only way to get a Settlement Payment under the
 CLAIM FORM       Settlement.
     THAT
  CONFIRMS        You may submit a claim form in one of two ways:
  YOU WERE                                                                                Deadline: _____
  BOOKED IN           1. Mail
  THE BCCF
    BEFORE            2. Internet
 JUNE 18, 2013

              Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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[ONLY FOR PRE-IDENTIFIED CLASS MEMBER NOTICE VERSION]


                         You may write to the Court about why you object to (i.e., do
     OBJECT              not like) the Settlement and think it should not be approved. Deadline: ____
                         Filing an objection does not exclude you from the Settlement.

                         You will not receive a Settlement Payment under the
                         Settlement. You will also give up your right to object to the
    DO NOTHING                                                                          N/A
                         Settlement and you will be not be able to be part of any other
                         lawsuit about the legal claims in the Action.


•        These rights and options—and the deadlines to exercise them—are explained in more detail below.
•        The Court in charge of this Action has preliminarily approved the Settlement and must decide whether to
         give final approval to the Settlement. The relief provided to Class Members will be provided only if the
         Court gives final approval to the Settlement and, if there are any appeals of the settlement approval, after
         the appeals are resolved in favor of the Settlement. Please be patient.
•        The issuance of this Notice is not an expression of the Court’s opinion on the merits or the lack of merits
         of the Representative Plaintiff’s claims in the lawsuit.


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                                     I.        BACKGROUND INFORMATION

   1.      Why did I get this notice?

 You received this Notice because a Settlement has been reached between the parties in the Action. According to
 Buck County’s available records, you were booked, or otherwise detained for any reason, by the Bucks County
 Correctional Facility (BCCF), between 1938 and June 2013. This makes you a member of the Settlement Class
 and entitled to the relief detailed below.
 This Notice explains the nature of the Action, the general terms of the proposed Settlement, and your legal
 rights and obligations. To obtain more information about the Settlement, including information about how
 you can see a copy of the Settlement Agreement (which defines certain capitalized terms used in this Notice),
 see Section ___ below.

   2.      What is the lawsuit about?

 This settlement resolves a class action in the Eastern District of Pennsylvania against Bucks County and the
 Bucks County Correctional Facility, entitled Taha v. County of Bucks (No. 12-6867). Plaintiff Daryoush
 Taha (the “Representative Plaintiff”) sued Bucks County individually and on behalf of all other individuals
 that the BCCF booked, or otherwise detained for any reason, between 1938 and June, 2013. He alleges that
 Bucks subsequently disseminated, or made available to the public, criminal history information about himself
 and the other class members in violation of the Pennsylvania Criminal History Record Information Act
 (CHRIA). Bucks denies any and all liability and/or any wrongdoing alleged.
 Before trial, the Court decided the case could be brought as a class action. That means the lawsuit decided
 the rights of all people that were by booked in the BCCF between 1938 and June 2013.
 On May 28, 2019, a jury in federal court decided that Bucks County willfully violated the CHRIA law. The
 jury awarded damages in the amount of $1,000 to each class member.
 Bucks County has filed an appeal with the Federal Court of Appeals. Bucks County denies that it violated
 the CHRIA law and believes that the verdict in favor of class members will be overturned, and that class
 members will receive nothing. The Court of Appeals has not decided the case yet. If the Settlement is
 approved, the appeal by Bucks County will be withdrawn and dismissed.




                      Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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  3.   Why is the lawsuit a class action?

In a class action lawsuit, one or more people called “Representative Plaintiff(s)” (in the Action, Daryoush
Taha) sue individually and on behalf of other people who have similar claims. The entities sued in the Action,
Bucks County and Bucks County Correctional Facility, are called the Defendants.

  4.   Why is there a Settlement?

The Representative Plaintiff has made claims against Bucks County. Bucks County denies that it has done
anything wrong or illegal and admits no liability. The Court of Appeals has not decided that the
Representative Plaintiff and the Class, or Bucks County, should win the lawsuit. Instead, both sides agreed
to a Settlement. That way, they both avoid the risks and cost of the appeal, and the Class Members will
receive relief now rather than perhaps years from now, if at all.


  5.   How do I know if I am part of the Settlement?

The Court has decided that everyone who fits this description is a Class Member for purposes of the proposed
Settlement: All persons whose criminal history record information was made available on the Bucks County
Correctional Facility Inmate Lookup Tool Before June 18, 2013.

Excluded from the Class is any person who has previously elected not to be part of this lawsuit in accordance
with the Notice of Class Certification that was sent out to the Class in 2018.


  6.   I’m still not sure if I am included.

If you are still not sure whether you are included, you can contact the Claims Administrator for free help to
determine whether you are a Class Member. The Claims Administrator will review a database provided by
Bucks County to determine if you are a Class Member. The email address of the Claims Administrator is
CHRIALitigation@administratorclassaction.com, the U.S. postal (mailing) address is Bucks County
CHRIA Settlement, Attn: Claims Administrator, ______, _______, and the toll-free telephone number is
1-xxx-xxx-xxxx.


                             II.      THE PROPOSED SETTLEMENT

  7.   What relief does the Settlement provide to the Class Members?

Bucks County will pay all class members who verify under penalty of perjury that they were booked in the
Bucks County Correctional Facility between 1938 and June 2013 and submit a valid claim on a timely basis.
The total amount that Bucks County will pay to each class member is anticipated to be $600. The amount
that Bucks County will pay to all class members combined is $10,000,000. Included in that amount is the cost
of notice and administration, programmatic relief for the Bucks County Defender’s Office, and a Service
Award to the Representative Plaintiff.
The amount that each class member will receive depends upon the total number of claims submitted.
Therefore, the exact amount each class member will receive is not certain at this time. Counsel reasonably
expect that each class member who submits a claim will receive $600. The amount could be more, and could
                Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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be less, depending upon the total number of claims submitted. In no event will a class member receive more
than $1,000.
The proposed settlement does not mean that any law was violated or that Bucks County did anything
wrong. Plaintiff and Class Counsel think the proposed settlement is fair and in the best interests of all
Class members.


                      III.HOW TO REQUEST A SETTLEMENT PAYMENT

  8.    How can I get a Settlement Payment?

To qualify for a Settlement Payment, you must verify under penalty of perjury that you were booked in the
Bucks County Correctional Facility between 1938 and June, 2013. You may verify this by either mailing in
a claim form, or by visiting www.chrialitigation.com/claim and following the instructions. Your verification
will be checked by the Claims Administrator against a database provided by the BCCF. Only those Class
Members that appear in the BCCF database will be eligible to be paid as part of the Settlement. You will be
required to provide the last four digits of your social security number and the PIN number assigned to you in
this Notice, and verify your current address. You must do this by the deadline of __________, 2020. You
received a Claim Form with this Notice. The Claim Form may be completed and submitted by mail, or
electronically submitted on the settlement website.


  9.    When will I get a Settlement Payment?

The Court will hold a Fairness Hearing on ______ at _____., to decide whether to approve the Settlement. If
the Court approves the Settlement, there may be appeals. It’s always uncertain whether such appeals can be
resolved, and resolving them can take time, perhaps more than a year. You can check on the progress of the
Action on the website dedicated to the Settlement at www.chrialitigation.com. Please be patient.

  IV.     THE LAWYERS IN THIS ACTION AND THE REPRESENTAITVE PLAINTIFF

  10.   Do I have a lawyer in this case?
The Court has ordered that the law firms of Kohn, Swift & Graf, P.C., and Abramson & Denenberg, P.C.
(“Class Counsel”), will represent the interests of all Class Members. You will not be separately charged for
these lawyers. If you want to be represented by your own lawyer, you may hire one at your own expense.

  11.   How will the lawyers be paid?

Bucks County has agreed not to oppose Class Counsel’s request for attorneys’ fees and expenses of up to
$4,000,000, subject to approval by the Court. The payment of attorneys’ fees and expenses by Bucks County
will not affect the amounts paid to class members. You will not be required to pay any attorneys’ fees or
costs or expenses. The Court will make the final decision as to the amount to be paid.

  12.   Will the Representative Plaintiff receive any compensation for his efforts in bringing the Action?

The Representative Plaintiff will request a service award (also known as “Named Plaintiff Enhancement
Award”) of up to $30,000 for his service as class representative and effort in bringing the Lawsuit. The Court
will make the final decision as to the amount to be paid to the Representative Plaintiff.
                Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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                                V.       NO EXCLUSIONS ALLOWED

  13.    Can I exclude myself from the Settlement?

No. If you did not file a timely request to be excluded from this Action in 2018, you are prohibited from
excluding yourself from this Settlement. You may still object to the Settlement as described in the paragraph
below.

                       VI.      HOW TO OBJECT TO THE SETTLEMENT

   14.         How do I tell the Court that I do not like the Settlement?

At the date, time, and location stated in Section __ below, the Court will hold a Fairness Hearing to determine
if the Settlement is fair, reasonable, and adequate, and to also consider Class Counsel’s request for an award
of attorneys’ fees and costs, and a service award to the Representative Plaintiff.
If you wish to object to the fairness, reasonableness, or adequacy of the proposed Settlement, or the request
for attorney’s fees and costs, or the Plaintiff’s requested service award, you must submit a written objection
to the Court, Class Counsel, and Bucks County’s Counsel listed below, postmarked no later
than______________.

             COURT                            CLASS COUNSEL                      BUCKS COUNTY’S COUNSEL
 Clerk of Court                         Joseph C. Kohn                           Burt M. Rublin
 Eastern District of Pennsylvania       Robert J. LaRocca                        Ballard Spahr LLP
 James A. Bryne Courthouse              Jonathan Shub                            1735 Market Street, 51st Floor
 601 Market Street                      Kohn, Swift & Graf, P.C.                 Philadelphia, PA 19103
 Phila, PA 19106                        1600 Market Street, 25th Floor
 Re: Taha v. Bucks County,              Philadelphia, PA 19107
 No. 12-6867
                                        Alan Denenberg
                                        Abramson & Denenberg, P.C.
                                        1315 Walnut Street, Suite 500
                                        Philadelphia, PA 19103


Any Objection must (a) provide information sufficient to allow the Parties to confirm that the objector is a
Class Member; (b) include a statement of such Class Member’s specific Objection; (c) state the grounds for
the Objection; and (d) identify any documents such objector desires the Court to consider. You may, but
need not, submit your objection through counsel of your choice. If you make your objection through an
attorney, you will be responsible for your personal attorney’s fees and costs.
IF YOU DO NOT TIMELY MAKE YOUR OBJECTION, YOU WILL BE DEEMED TO HAVE
WAIVED ALL OBJECTIONS AND WILL NOT BE ENTITLED TO SPEAK AT THE FAIRNESS
HEARING.
If you submit a written objection, you may appear at the Fairness Hearing, either in person or through personal
counsel hired at your expense, to object to the Settlement Agreement. You are not required, however, to
appear.
                 Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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                                       THE FAIRNESS HEARING

   15.         What is the Fairness Hearing?

The Court has preliminarily approved the Settlement and will hold a Fairness Hearing (also known as a “Final
Approval Hearing”) to decide whether to give final approval to the Settlement. The purpose of the Fairness
Hearing will be for the Court to determine whether the Settlement should be approved as fair, reasonable,
adequate, and in the best interests of the Class; to consider the award of attorneys’ fees and expenses to Class
Counsel; and to consider the request for a service award to the Representative Plaintiff.



   16.         When and where is the Fairness Hearing?
The Court (Judge Wendy Beetlestone) will hold the Fairness Hearing at ____ on _______ in Courtroom 10-
A of the James A. Bryne United States Courthouse, 601 Market Street, Philadelphia PA 19106. The
hearing may be postponed to a different date or time or location without notice. Please check
www.chriasettlement.com for any updates about the Settlement generally or the Fairness Hearing
specifically. If the date or time of the Fairness Hearing changes, an update to the Settlement website will be
the only way you will be informed of the change.


   17.         May I speak at the Fairness Hearing?

At that hearing, the Court will be available to hear any objections and arguments concerning the fairness of
the Settlement.
You may attend, but you do not have to. As described above in Section 14, you may speak at the Fairness
Hearing only if you have timely served and filed an objection.


                                     ADDITIONAL INFORMATION

   18.         How do I get more information?

To see a copy of the Settlement Agreement, the Court’s Preliminary Approval Order, Class Counsel’s
application for attorneys’ fees and costs and a class representative service award, and the Complaint filed in
the Lawsuit, please visit the Settlement website located at: www.chrialitigation.com. Alternatively, you
may contact the Claims Administrator at the email address: Info@chrialitigation.com, the U.S. postal
address (mailing): Bucks County Settlement, Attn: Class Administrator, _____, _____, _____ _____, or
the toll-free telephone number: 1-xxx-xxx-xxxx.
The description of the Lawsuit is general and does not cover all of the issues and proceedings that have
occurred. In order to see the complete file you should access the docket in this case through the Court’s
Public Access to Court Electronic Records (PACER) system at https://ecf.paed.uscourts.gov.or visit the
Clerk’s office at 601 Market Street, Second Floor, Room 2609, Philadelphia, PA 19106. The Clerk will tell
you how to obtain the files for inspection and copying at your own expense.

                Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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  19.   What if my address or other information has changed or changes after I submit a Claim Form?

  Contact the Settlement Administrator at:

                                         Bucks County CHRIA Settlement
                                            c/o Claims Administrator
                                                ______________
                                                  __________
                                                 xxx-xxx-xxxx
                                            Info@chrialitigation.com
                                                         ****

DO NOT ADDRESS ANY QUESTIONS ABOUT THE SETTLEMENT OR THE LITIGATION TO THE
CLERK OF THE COURT OR THE JUDGE.

Dated: _____, 2020                              By Order of the Court
                                                CLERK OF THE COURT
                                                United States District Court
                                                Eastern District of Pennsylvania




                Questions? Call 1-xxx-xxx, email info@chiralitigation.com or go to www.chrialitigation.com
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  NOTICE OF PENDENCY OF CLASS ACTION SETTLEMENT
          IF YOU WERE BOOKED AT THE BUCKS COUNTY
  CORRECTIONAL FACILITY BETWEEN 1938 AND JUNE 18,
    2013 YOU ARE ELIGIBLE FOR SETTLEMENT BENEFITS


All persons whose criminal history record information was
made available on the Bucks County Correctional Facility
Inmate Lookup Tool before June 18, 2013 are members of the
class
If you are a member of the Class, your rights will be affected
by a Settlement


        A settlement of a class action affects you if you were booked at the Bucks

County Correctional Facility at any time between 1938 and June 2013. If you

qualify, you may submit a claim for payment, or object to the settlement.

        The United States District Court for the Eastern District of Pennsylvania

authorized this notice. The Court will hold a hearing to consider whether to

approve the settlement, so that the benefits may be paid.



WHO'S AFFECTED?
If your criminal history information was posted on the Bucks County

Correctional Facility’s Inmate Lookup Tool before June 18, 2013, you are a

member of the Class.




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WHAT'S THIS ABOUT?
        The lawsuit claims that Bucks County published criminal history

information about individuals booked or detained in the Bucks County

Correctional Facility, allegedly violating a law called CHRIA (the Criminal

History Record Information Act). A Jury decided against Bucks County. Bucks

County has appealed. Bucks County denies that it violated CHRIA and has

asserted many defenses. The settlement is not an admission of wrongdoing or

an indication that any law was violated.



WHAT CAN YOU GET FROM THE SETTLEMENT?
        Each class member who submits a timely and valid claim will receive

about $600. Bucks County has made a total of $10 million available to pay all

claims and the costs of settlement administration, and the service award for the

Class Representative. The payments to each claimaint may be more or less than

$600, depending on the total claims submitted. In no event shall a Class

Member receive more than $1,000.



HOW DO YOU GET A PAYMENT?
        A detailed notice and claim form package has been mailed to class

members for whom Bucks County had a current address in its database. If you

did not receive one, and believe you qualify, just call [800-   ] or visit this

website: www.chrialitigation.com to request a claim form. CLAIMS ARE

DUE BY ______ 2020.




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WHAT ARE YOUR OPTIONS?
        You can object to the Settlement or the plaintiff’s request for attorneys’

fees by _______ 2020. The website www.chrialitigation.com explains how to

make an objection. The Court will hold a hearing in this case (Taha v. Bucks

County, Civil No. 12-6867) on ______ 2020 at ______am to consider whether to approve

the settlement, attorneys’ fees and expenses totaling no more than $4,000,000, and a service

award for the Class Representative of no more than $30,000. You may appear at the

hearing, but you don't have to. For more details, call toll free 1-800-000-0000, go to

www.chrialitigation.com, or write to: Taha Settlement Administrator, P.O.

Box ___, City, ST. 0000.




1-800-000-0000                              www.chrialitigation.com




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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
DARYOUSH TAHA, Individually and on :        CIVIL ACTION NO. 12-06867
behalf of all others similarly situated, :
                                         :
        Plaintiff,                       :
                                         :
                v.                       :
                                         :
BUCKS COUNTY et al.,                     :  CLASS ACTION
                                         :
        Defendants.                      :
____________________________________:

                                             ORDER

       AND NOW, this ____ day of May, 2020, upon consideration of the motion by class

counsel Kohn, Swift & Graf, P.C. and Abramson & Denenberg, P.C. for preliminary approval of

the proposed class action settlement agreement, it is hereby ORDERED that said motion is

GRANTED as follows:

               1.      The Court has conducted a preliminary assessment of the fairness,

reasonableness, and adequacy of the Settlement and finds that it falls within the range of

reasonableness meriting possible final approval.

               2.      The Court therefore preliminarily approves the Settlement on the terms set

forth in the Agreement, subject to further consideration at the Final Approval Hearing

               3.      The Court hereby appoints __________ as the Claims Administrator. It

shall provide notice to the Class and administer the claims process as set forth in the Settlement

Agreement. Consistent with the Settlement Agreement, the responsibilities of the Claims

Administrator will include: (a) updating addresses for class members and seeking new addresses

for class members whose notices are returned as undeliverable; (b) disseminating the notice to

the Class by mail and publication; (c) maintaining a website to enable Class Members to access


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relevant documents, including the Notices and claim form; (d) responding to inquiries by class

members; and (e) verifying the validity and timeliness of claims, subject to review by the parties

and the Magistrate, if the parties have a dispute. Pursuant to the Settlement Agreement, the cost

of the Claims Administrator’s services shall be paid by Defendants.

                4.      The Court approves the form, substance, and requirements of the

Publication Notice and Mail Notice (collectively, the “Settlement Notices”), attached as Exhibits

A-C to the Settlement Agreement.

                5.      The Settlement Notices clearly explain Class Members’ rights, including

the nature of the action, the Class definition, how to submit a claim, Settlement Class Members’

right to make an appearance with an attorney, Class Members’ right to object to the Settlement,

the scope of the release of Defendants, and the binding effect of a final judgment. See Fed. R.

Civ. P. 23(c)(2)(B)(i)-(vii).

                6.      The Settlement Notices also explain that Class Counsel may request up to

$4 million for attorneys’ fees, expenses and a $30,000 Service Award to the class representative.

The Court reserves decision on the contemplated requests until after the Fairness Hearing.

                7.      The Settlement Notices will be transmitted to Settlement Class members

by both first class mail and publication. The Settlement Notices will also be available on a case-

specific settlement website.

                8.      Publication notice will be provided in the Bucks County Courier Times

and the Doylestown Intelligencer and with the same size and frequency as the 2018 notice of the

Court’s class certification decision.




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               9.      The Court finds that disseminating the Settlement Notices as approved by

this Order meets the requirements of Rule 23 of the Federal Rules of Civil Procedure and due

process, is reasonable, and constitutes the best notice practicable under the circumstances.

               10.     Within thirty (30) days from the date of this Order, the Settlement Notices

shall be mailed and published substantially in the forms attached to the Settlement Agreement

and in accordance with the notice plan set forth in the Agreement.

               11.     Within one hundred (100) days from the date of this Order, Plaintiffs shall

file a Motion for Final Approval of the Settlement and Entry of Final Judgment and their

application(s) for an award of attorney’s fees and expenses and a Service Award to the Plaintiff

in amounts not to exceed those set forth in the Settlement Agreement.

               12.     The deadline for Class members to submit claims and to object to the

Settlement, the Petition for an Award of Attorneys’ Fees and Litigation Expenses, and the

request for a Service Award shall be no later than ninety (90) days from the date of publication

of the Notice to class members. Objections must be made in writing in accordance with the

instructions set forth in the Settlement Notices.

               13.     The Claims Administrator ‘s Affidavit of Compliance with Notice

requirements shall be filed no later than thirty (30) days prior to the Final Approval Hearing.

               14.     At least thirty (30) days prior to the Final Approval Hearing, the

Defendants shall file with the Court proof of their compliance with the provisions of the Class

Action Fairness Act requiring that each settling defendant serve upon the appropriate state and

federal officials notice of a proposed settlement. 28 U.S.C. § 1715(b).




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                15.    Any replies in support of the Motions for Final Approval, Attorneys’ Fees

and Litigation Expenses, and Plaintiff’s Service Award shall be filed no later than seven (7) days

prior to the Final Approval Hearing.

                16.    The Court will hold a hearing on ______________ at ___ (at least 120

days after the date of this Order) at the United States District Court for the Eastern District of

Pennsylvania, Courtroom 10-A (the “Final Approval Hearing” or “Fairness Hearing”) for the

following purposes:

                a)     to finally determine whether the Proposed Class Action Settlement is fair,

reasonable and adequate and should be granted Final Approval by the Court pursuant to Rule

23(e) of the Federal Rules of Civil Procedure;

                b)     to determine whether a Final Judgment should be entered dismissing the

claims of the Class against Defendants with prejudice, as required by the Settlement Agreement;

              c)     to consider Class Counsel’s Petition for Award of Attorneys’ Fees and
Litigation Expenses;

                d)     to consider the Petition for a Service Award to Plaintiff;

                e)     to consider any objections; and

                f)     to consider such other matters as the Court may deem appropriate.

                17.    The Court shall retain continuing jurisdiction over the Action to consider

all further matters arising out of or connected to the Settlement, as well as the administration

thereof.

Dated: __________, 2020
                                                               By the Court:


                                                               __________________________
                                                               WENDY BEETLESTONE, J.


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                      IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA

DARYOUSH TAHA,                                         :
                                                       :
                               Plaintiff,              :
                                                       :       CIVIL ACTION NO. 12-6867
               v.                                      :
                                                       :       CLASS ACTION
BUCKS COUNTY, et al.,                                  :
                                                       :
                               Defendants.             :


               [PROPOSED] FINAL JUDGMENT AND ORDER OF DISMISSAL

               AND NOW, this ____ day of _______, 2020, upon consideration of Plaintiff’s

Motion for Final Approval of Class Action Settlement and Motion for Attorney’s Fees,

Litigation Expenses, and Class Representative Service Award, as well as all supporting materials

and after dissemination of Notice to class members and a hearing held on _______, 2020, it is

hereby Ordered, Adjudged and Decreed and Final Judgment is entered as follows:

               1.      The Court has jurisdiction over the subject matter of and parties to this
litigation.

               2.      After a hearing held on _______, 2020, this Court entered an order

granting preliminary approval of the Settlement Agreement and directing notice to the class

members by mail and publication.


               3.      Terms used in this Order, unless otherwise defined herein, have the same

meanings in this Order as in the Settlement Agreement.


               4.      The Court has reviewed the terms of the Settlement Agreement and finds

that the terms and conditions set forth therein, including all exhibits thereto, are fair, reasonable,

and adequate under Rule 23(e) of the Federal Rules of Civil Procedure. Accordingly, the Court




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approves the Settlement Agreement and directs the Parties to perform in accordance with its

terms and conditions.


               5.       The Court finds that the distribution of the mail and publication Notices to

Class Members as set forth in the Declaration of _______ was in compliance with the Court’s

_______ 2020 Order approving the proposed class notices and notice plan, and that notice has

been given in an adequate and sufficient manner; constitutes the best notice practicable under the

circumstances; and satisfies Federal Rule of Civil Procedure 23 and due process.


               6.       Defendants have provided notice of the settlement to the appropriate

government officials pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §

1715.


               7.       The Court grants a service award of $______to Plaintiff.

               8.       The Court grants attorney’s fees and expenses to Class Counsel in the

amount of $__________.


               9.       This Order is the Final Judgment as defined in the Settlement Agreement.

               10.      The provisions of this Final Judgment are applicable to and binding upon

Defendants and upon all members of the Class, their heirs, administrators, executors, agents,

representatives, and assigns, and dismiss in their entirety and with prejudice the claims of

Plaintiff and all members of the Class against Defendants, as more fully set out in section __ of

the Settlement Agreement, without costs to any party against any other party except as otherwise

provided herein.




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               11.     The Final Judgment is intended by the parties and the Court to be res

judicata and to prohibit and preclude any prior, concurrent or subsequent litigation, arbitration, or

other proceeding brought individually, or in the name of, and/or otherwise on behalf of the

Plaintiff or members of the Class with respect to any and all claims or issues which were or

could have been raised in the Action as of the Effective Date, as set forth in paragraph ____ of

the Settlement Agreement.


               12.     Plaintiff and all members of the Class, individually and on behalf of their

heirs, administrators, executors, agents, representatives, and assigns, are deemed to have

conclusively settled and released all claims against Defendants arising from or related to the

dissemination of criminal history record information on the Bucks County Correctional Facility

Inmate Lookup Tool and the other conduct alleged by Plaintiff, as more fully set out in section

____ of the Settlement Agreement.


               13.     Plaintiff and all members of the Class, individually and on behalf of their

heirs, administrators, executors, agents, representatives, and assigns, are deemed to have

covenanted not to sue, institute, or instigate any legal, equitable or administrative proceedings

against Defendants for any Released Claims, as more fully set out in section ___ of the

Settlement Agreement.


               14.     Each member of the Class is barred and permanently enjoined from

prosecuting any action in state or federal court, arbitration, or before any administrative body

against Defendants with respect to any Released Claims, as more fully set out in paragraph ___

of the Settlement Agreement.




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               15.    Without affecting the finality of the Order, jurisdiction is retained by this

Court only for the purpose of enabling any party to this Final Judgment to apply to the Court at

any time for such further orders and directions as may be necessary and appropriate for the

carrying out of this Final Judgment, including the resolution of disputes under the Settlement

Agreement and enforcing its terms and conditions. In all other respects, this case is

DISMISSED WITH PREJUDICE.


               16.    The Clerk of the Court is ordered to enter this Final Judgment forthwith.

               17.    In the event that this Final Judgment is not otherwise final and appealable,

the Court finds and directs that there is no just reason for delaying enforcement or appeal and

judgment should be entered.


Dated: _________, 2020
                                                     BY THE COURT:


                                                     ______________________________
                                                     WENDY BEETLESTONE, J.
                                                     United States District Judge




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                             IMPORTANT LEGAL REMINDER

              Taha v. Bucks County, No. 12-6867 (Eastern District of Pennsylvania)

Dear Class Member:

                On __________,2020, we mailed you a Notice concerning a class action settlement
with Bucks County and the Bucks County Correctional Facility because their records indicate that
you are a member of the class and thus are eligible to participate in the settlement. To date, we
have not received a response from you. We are writing to remind you that if you want to participate
in the settlement, the deadline for submitting a claim is ___________, 2020. Your claim form
must include your PIN shown above and the last four digits of your Social Security number. If
you have any questions or need another copy of the Notice and claim form, you can visit the
settlement website ( www.chrialitigation.com), call_________, or write to _________ (email and
mail address of claims administrator)______. If you have already submitted a claim form, you can
disregard this reminder.

Thank you,

Claims Administrator




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                     BUCKS COUNTY CHRIA SETTLEMENT


Please read the attached Class Action Notice and the Instructions below. If you are
a Class Member, and want to file a claim, there are two ways to do so. Choose
which one is easiest for you.
   1) By the Internet.

       Follow these steps:
           Log onto the Taha settlement website: [ www.chrialitigation.com]
           Click on the link that reads: “File a Claim” [Claim form below]
           Enter the 4 digit PIN number printed in the top right of this claim form. This is
             the claim number assigned just to you.
           Enter the last 4 digits of your Social Security Number.
           Confirm whether the address where you currently live is the same address printed
             on the Notice and Claim Form.
           If the address where you currently live is different from the address printed on
             the Notice and Claim Form, please update your address
           Provide an email address or telephone number in case the Claims Administrator
             has any questions and needs to reach you.
           Click “submit”


       (2) By Paper
       Follow these steps by Answering These Questions:
              The PIN Number printed on the first page of this Claim Form[claim form below]
               is: _____
              The last 4 digits of my Social Security Number are: __ __ __ __
              If my current address is different from the one printed on this Notice and Claim
               form, my current address is:
              Provide an email address or telephone number in case the Claims Administrator
               has any questions and needs to reach you
              Sign your claim form, and mail it to: [Claim Admin Address]
              You will be required to swear under penalty of perjury that the information you
               provided is true and correct




[Draft Class Membership Form]
 Questions? Visit www.chrialitigation.com, Email [Info@chrialitigation .com], or call toll-free 1-xxx-
                                             xxxx.
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               VERIFIED STATEMENT OF CLASS MEMBERSHIP FORM

A. CLAIMANT INFORMATION
(Please complete Sections 1 through 6 Below)
                                 First                                 M.I.    Last

1. Claimant Name:


2. Last 4 Digits of Social Security Number or Foreign ID Number
   (if Claimant is not a U.S. Citizen)                                                       |        |       |   |   |

3. PIN [required if you received Notice in mail]                                             |        |       |   |   |
                                 Street Address
4. Current Address:
                                 City                                            State               Zip Code




5. Current Email
   (optional):

6. Current Phone Number:            (|    |       |   |) – |   |   |   | – |    |        |       |        |

B. SIGNATURE (You must sign, date, and check the boxes below)



[Electronic/Hard Copy] _________________________________
Sign above                                            Date

 I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that all information provided
  in this Statement of Class Membership Form is true and correct to the best of my knowledge,
  information, and belief.
 I understand that the Claims Administrator will confirm whether I was booked in the Bucks
  County Correctional Facility between 1938-June, 2013 upon receipt of this Form.

C. HOW TO SUBMIT THIS FORM

You may submit this Form one of two ways:

        Online:             www.chrialitigation.com


       By Mail:              xxxx




    Questions? Visit www.chrialitigation.com, Email [Info@chrialitigation .com], or call toll-free 1-xxx-
                                                xxxx.
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 D. ELECTION OF PAYMENT METHOD (CHOOSE ONE).


         I wish to receive payment by a paper check sent to the name listed above at the address listed
         above.


         I wish to receive payment electronically, by ACH (Automated Clearing House).
 Please provide:
 Bank Routing Number:

 Bank Account Number:

 Banking Institution:

 Name on Account (if
 different from above):

The illustration below is to help you identify your Routing and Account Number. If you still are
unsure which number on your check is which, please contact your financial institution.




    Questions? Visit www.chrialitigation.com, Email [Info@chrialitigation .com], or call toll-free 1-xxx-
                                                xxxx.
